Case 1:18-cv-08865-A.]N Document 34 Filed 03/25/19 Page 1 of 1

UN|TED STATES

SECUR|T|ES AND EXCHANGE COMM|SS|ON

100 F STREET, N.E.
WASH|NGTON, D.C. 20645

 

DlVlSlON OF
ENFORCEMENT
Cheryl L. Crumpton
Supervisory Trial Attorney
Direct Dial: 202-551-4459
March 25. 201 9
By ECF

The Honorable Alison J. Nathan

United States District Judge

Southern District of New York

Thurgood Marshall United States Courthouse
40 Foley Square

New York, NY 10007

Re: SEC v. Musk, No. 18-cv-08865-AJN
Dear Judge Nathan:

After reviewing Defendant Elon Musk’s sur-reply memorandum, the SEC maintains that
an evidentiary hearing is unnecessary because there are no material issues of disputed fact.

lt is also unnecessary for the Court to consider settlement communications to interpret the
clear and unambiguous language of its order. See Red Ball ]nterior Demolition Corp. v.
Palmadessa, 173 F.3d 481, 484 (Zd Cir. 1999) (plain language of settlement agreement controls
absent ambiguity, and “a party cannot create an ambiguity in an otherwise plain agreement
merely by urging different interpretations in the litigation.” (internal quotation omitted)).
However, Musk’s selective omission of certain settlement communications from his submission
results in a misleading depiction of the parties’ negotiation of the pre-approval requirement For
that reason, if the Court considers settlement communications to resolve the pending motion, the
SEC requests leave to provide the Court with additional written settlement communications that
specifically address the clause that requires Musk to submit for pre-approval all written
communications that reasonably could contain information material to Tesla or its shareholders

The SEC is happy to provide any additional briefing or argument requested by the Court.
Respectfully submitted,
/7 /

Cheryl Crumpton

